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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                  )
 PHARMACEUTICAL CARE                              )
 MANAGEMENT ASSOCIATION,                          )
                                                  )
                        Plaintiff,                )
                                                  )      Civil Action No. 21-cv-00095-JDB
 v.                                               )
                                                  )
 UNITED STATES DEPARTMENT OF                      )
 HEALTH AND HUMAN SERVICES, et                    )
 al.,                                             )
                                                  )
                        Defendants.               )
                                                  )


                                     JOINT STATUS REPORT

       Plaintiff, Pharmaceutical Care Management Association (PCMA), and Defendants,

the U.S. Department of Health and Human Services (HHS), et al., through their undersigned

counsel, submit this joint status report.

       1.       Plaintiff in this action raises procedural and substantive challenges to a final

rule promulgated by HHS on November 20, 2020, which finalized certain new definitions,

changed the scope of an existing regulatory safe harbor to remove protection for certain

pharmaceutical reductions in price, and added two new safe harbors. See Fraud and Abuse;

Removal of Safe Harbor Protection for Rebates Involving Prescription Pharmaceuticals and Creation of

New Safe Harbon Protection for Certain Point-of-Sale Reductions in Price on Prescription

Pharmaceuticals and Certain Pharmacy Benefit Manager Service Fees, 85 Fed. Reg. 76,666 (HHS,

Nov. 30, 2020) (Discount Rule).

       2.       In a rule published in the Federal Register on February 2, 2021, HHS

announced that it was undertaking a regulatory review of the Discount Rule, including the


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interactions between the Rule’s various provisions and the overall regulatory framework. See

Notice, ECF No. 16. To assure time for that review, HHS delayed the effective date of the

new safe harbor provisions and new definitions from January 29, 2021, until March 22, 2021.

See id.

          3.       Upon the request made by the parties through stipulation, this Court

subsequently issued two orders that collectively postponed the effective dates of all of the

rule’s provisions until January 1, 2023. See Order, ECF No. 19; Order, ECF No. 27. The

Court’s order also placed this case in abeyance, subject to the continued consent of the parties.

Order, ECF No. 27.

          4.       At this time, HHS’s review of the Discount Rule remains ongoing. HHS does

not presently know when that review will be complete. Accordingly, HHS believes that this

case should remain in abeyance.

          5.       PCMA appreciates HHS’s effort to review the Discount Rule, and agrees that

these proceedings should remain in abeyance for the time being while the government

proceeds with that review. Should the Discount Rule and its current effective dates remain

in place, however, PCMA continues to anticipate that it may become necessary to resume

these proceedings in order to ensure sufficient time for briefing and decision on the status of

the Discount Rule before PCMA’s members get too far along in planning and preparation for

the 2023 contract year. PCMA and its members are continuing to evaluate the timeline by

which litigation would need to resume.

          6.       To ensure there is no further delay if these proceedings resume, PCMA has

requested that the government proceed with producing the administrative record. In

response, the government initially proposed to produce the administrative record by July




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1. In late June, however, the government advised PCMA that it has encountered setbacks in

the production process. PCMA has so far accommodated the government’s request for

additional time to produce the administrative record. But more than a month has passed

since the government first reported that it had encountered setbacks. In anticipation of this

joint status report, PCMA met and conferred with counsel for the government and asked HHS

to identify the date by which it expects to produce the administrative record, but government

counsel advised that they are not able to identify that date. PCMA appreciates the

government’s efforts and understands that setbacks may arise. Should the government

continue to delay in even setting a date for production of the administrative record, however,

PCMA anticipates that it may need to seek the intervention of this Court to ensure that the

parties are in position to promptly and efficiently submit briefs to this Court should

proceedings resume.

       7.       In the meantime, the parties jointly request that the Court maintain this case in

abeyance, and propose to submit another joint status report on August 31, 2021.




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Dated: July 30, 2021               Respectfully submitted,

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